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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

SINGULAR COMPUTING LLC,                      )
                                             )       Civil Action No. 1:24-cv-10008
                                             )
                      Plaintiff,             )
                                             )
v.                                           )
                                             )
GOOGLE LLC,                                  )
                                             )
                      Defendant.             )       JURY TRIAL DEMANDED



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Singular Computing LLC (“Singular”), for its complaint against Defendant,

Google LLC, (“Google”), alleges as follows:

                                        THE PARTIES

       1.      Singular is a Delaware limited liability company having its principal places of

business at 10 Regent Street, Newton, MA 02465 and The Cambridge Innovation Center, 1

Broadway, Cambridge, MA 02142.

       2.      Google is a Delaware limited liability company and has regular and established

places of business in this District, including a major office complex in Cambridge,

Massachusetts with over 1,500 employees. Google may be served with process through its

registered agent, Corporation Service Company, 84 State Street, Boston, MA 02109.




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                                          JURISDICTION

       3.      This is a civil action for patent infringement under the patent laws of the United

States, 35 U.S.C. § 271, et seq. This Court has subject matter jurisdiction under 28 U.S.C.

§§ 1331 and 1338(a).

       4.      This Court has general personal jurisdiction over Google because Google is

engaged in substantial activity, which is not isolated, at its regular and established places of

business within this judicial district. This Court has specific jurisdiction over Google because

Google has committed acts of infringement within this judicial district giving rise to this action,

and has established more than minimum contacts within this judicial district, such that the

exercise of jurisdiction over Google in this Court would not offend traditional notions of fair

play and substantial justice.

       5.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)-(c) and

1400(b) because Google maintains regular and established places of business and has committed

acts of patent infringement within this judicial district.

                                   FACTUAL BACKGROUND

       6.      Singular was founded by Dr. Joseph Bates to, inter alia, design, develop, and

produce computers having new architectures, including the patented computer architectures at

issue in this case. Dr. Bates is the President and CEO of Singular. Since 2009, Singular has

continuously operated out of the Boston area.

       7.      Dr. Bates’ interest in computer science dates back to at least 1969, when, at the

age of thirteen, he was admitted to Johns Hopkins University as an undergraduate. His success

at this university sparked a pilot program for exceptionally gifted youths. This program went on

to become the widely recognized Johns Hopkins Center for Talented Youth (also known as




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“CTY”; see https://cty.jhu.edu ) program that developed the talents of over 165,000 academically

advanced pre-college students, including Google’s co-founder (Sergei Brin). By age seventeen,

Dr. Bates had earned bachelor’s and master’s degrees in computer science from Johns Hopkins.

He then earned a computer science doctoral degree from Cornell University at age twenty-three.

Dr. Bates’ research and teaching interests have centered around several cutting-edge computer

science topics, including formal logic, the design and implementation of computer programming

languages, and artificial intelligence (“AI”).

       8.      During his career working at the vanguard of computer science, Dr. Bates realized

that although the theoretical computing power inside computers (as represented by the number of

transistors inside a computer) was growing exponentially under a phenomenon popularly known

as Moore’s Law, the vast majority of that increase in computing power was not being made

available to users. Under then existing computer architectures, even computers containing over a

billion transistors were architected to typically perform only a handful of operations per unit of

time (“clock cycle,” “cycle,” or “period”) when using central processing units (“CPUs”). Such

conventional computers typically performed only a few hundred operations per cycle when using

graphics processing units (“GPUs”).

       9.      In the course of his work, Dr. Bates realized that existing computing architectures

prevented computers from achieving their full potential. Computers perform computations using

transistors (semiconductor devices that control the flow of electric current). For the last 50 years,

due to advances in semiconductor technology, the number of transistors inside computer chips

has grown at an exponential rate, doubling roughly every two years. Computer chips in the early

1970s contained just a few thousands transistors, while many similar chips used today have over

10 billion transistors. Dr. Bates recognized, however, that computing power (as measured by,




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e.g., the number of computations a computer performs each second) had not increased at the

same rate. Dr. Bates further recognized that computing power gains were lagging behind

transistor count gains because a computer built using a conventional architecture – even though it

included more transistors – did not use transistors efficiently.

       10.     Dr. Bates devised improved computer architectures that allow a computer to make

more efficient use of its physical resources (e.g., its transistors). The novel architectures invented

by Dr. Bates involve computer processors that contain a large number of processing elements

designed to perform low precision high dynamic range (“LPHDR”) operations. In these novel

architectures, numerical values can be represented and manipulated inside processing elements

using smaller bit widths (at the cost of lower precision), which in turn enables such processing

elements to be smaller than processing elements that perform corresponding traditional high-

precision operations. The relatively small size of LPHDR processing elements enables a greater

number of them to be packed inside a computer chip, and operated in parallel with each other,

which increases the number of operations performed per clock cycle by that chip by sacrificing

the accuracy to a certain but tolerable extent. These architectures thus allow computers to use a

given number of transistors more efficiently, while maintaining a high dynamic numerical range

so as to have broad applicability to a wide variety of computer software programs. Dr. Bates’

inventive computer architecture is broadly applicable to AI software programs, for example. In

fact, Dr. Bates’ inventive computer architecture has revolutionized the field of AI by vastly

increasing the speed and performance of computer processors when executing AI software

programs.

       11.     A key difference between conventional computer architectures and Dr. Bates’

invention relates to a computer’s performance of arithmetic operations (as one example,




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multiplication). Using a conventional computer architecture, a typical multiplier circuit inside a

conventional processing element contains on the order of a hundred thousand transistors or more.

A computer built using Dr. Bates’ patented architecture, on the other hand, includes low-

precision multiplier circuits inside processing elements that require a far smaller number of

transistors, making it possible to include a very large number of them on a single chip, thereby

increasing the number of multiplications per clock cycle the computer is able to perform. Indeed,

a computer architected based on Dr. Bates’ invention can potentially perform hundreds of times

more multiplications per clock cycle, and therefore hundreds of times more multiplications per

second, than a conventional computer having the same number of transistors.

       12.     In some embodiments of Singular’s patented computer architectures, processing

elements that operate at low precision can be deployed within a computer in parallel

configurations to further amplify their relatively higher efficiency. In still other exemplary

configurations, large numbers of these LPHDR processing elements can be deployed in

conjunction with far smaller numbers of traditional high-precision processing elements found

within conventional computer architectures.

       13.     Singular’s revolutionary approach to computer architecture is described in a

provisional patent application entitled “Massively Parallel Processing with Compact Arithmetic

Element” that was filed in June of 2009 and made public in June of 2010, and in a non-

provisional application entitled “Processing with Compact Arithmetic Processing Element” that

was filed in June of 2010 and made public in April of 2012.

       14.     After Dr. Bates filed these patent applications, he built a prototype computer

using his novel architecture. The Singular prototype was able to execute a software program that,

for example, was able to perform neural network image classification (an AI application) thirty




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times faster than a conventional computer having comparable physical characteristics in terms of

its number of transistors, its semiconductor fabrication process and its power draw.

       15.     As Singular was designing and building prototypes of its new computer, Google

was belatedly recognizing the limitations of its conventional computer architectures in providing

users with computer-based services such as Translate, Photos, Search, Assistant, and Gmail.

According to Google, these limitations caused a “scary and daunting” situation for Google. The

situation arose as Google was starting to improve these computer-based services by basing them

on AI software programs that were running on its conventional computers. The situation was

“scary and daunting” because the new AI software programs required far more computer

operations per period of time (i.e., an hour, a day, etc.) than its conventional computers could

provide. For example, by Google’s own estimation, applying its new AI software programs to

speech recognition services alone (e.g., Translate and Assistant) would increase the required

number of operations per period of time so drastically that Google would have to at least double

its total computing footprint.

       16.     As Google’s scary and daunting situation unfolded, representatives from Google

formally met with Dr. Bates to discuss his invention at least five times in person and at least 15

times by telephone, from 2010 through early 2017. During the course of these meetings and

calls, Dr. Bates disclosed his computer architectures and prototype. Dr. Bates also advised

Google such was patent-protected. On March 1, 2011, less than 2 years after the filing of the

provisional application, Dr. Bates and Google executed a non-disclosure agreement (“NDA”)

prepared by Google with an effective date of November 1, 2010. After years of conversations

over email and phone, as well as multiple in-person meetings, Google proposed another NDA to




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Bates, in March of 2017, this one asking Dr. Bates to waive any potential willful patent

infringement claims against Google.

       17.     Following disclosure to Google by Dr. Bates of his invention between 2010 and

2017, Google copied and adopted Dr. Bates’ patented invention, incorporating such initially in

its TPUv2 and TPUv3 chips (the accused products in Case No. C.A. No. 1:19-cv-12551-FDS),

and later in its TPUv4 and TPUv5 chips, which share several features with the TPUv2 and

TPUv3 chips (https://cloud.google.com/tpu/docs/system-architecture-tpu-vm) (the TPUv4 and

TPUv5 chips individually and/or together, “Accused TPU Devices”) and in instances of the

Cloud TPU computing system that includes the Accused TPU Devices (“Accused TPU

Computing System”). This is apparent from a comparison of Dr. Bates’ patented architecture and

that of the Accused TPU Devices and Accused TPU Computing Systems. It is also apparent from

an exemplary comparison of the disclosures made in writing by Dr. Bates to Google from 2010-

2017 on one hand, with the properties and features that Google later adopted in its Accused TPU

Devices and Accused TPU Computing System on the other hand. For example:



 Singular Presentations Made to Google / Jeff Dean (2010-         Google Documents
 2014)

                                                                  Google Publication of TPU




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Jeff Dean, Machine Learning for Systems and Systems for Machine Learning, dean-nips17.pdf
(learningsys.org).



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         18.     Google knew that its demand for AI-based user services far exceeded its

computing capabilities. Google recognized that, but for its inclusion of the technology covered

by Dr. Bates’ patents inside its computers, it would have had to at least double its computing

footprint to accommodate such demand for delivering increased speech recognition services

alone.

         19.     Google realized it needed to use Dr. Bates’ computer architectures to increase the

number of computer operations per period of time that could be executed by its computers. To

this end, it has been using the Accused TPU Devices and Accused TPU Computing Systems to

deliver services such as Translate, Photos, Search, Assistant, Cloud, and Gmail to the public.

Google drives the public’s use of these services to enhance its Ads platform which, in turn,

generates at least tens of billions of dollars per year in profit for Google. See

https://www.statista.com/statistics/266206/googles-annual-global-revenue/.

         20.     Google now operates at least fourteen data centers in the United States for its TPU

computers. See www.google.com/about/datacenters/locations/. The Accused TPU Devices and

Accused TPU Computing Systems are installed and operated by Google in one or more of

Google’s data centers at: Berkeley County, South Carolina; Council Bluffs, Iowa; The Dalles,

Oregon; Douglas County, Georgia; Henderson, Nevada; Jackson County, Alabama; Lenior,

North Carolina; Loudoun County, Virginia; Mayes County, Oklahoma; Midlothian, Texas; and

Montgomery County, Tennessee; New Albany, Ohio; Papillion, Nebraska; and Storey County,

Nevada.

         21.     In the Securities and Exchange Commission Form 10-K filed by Google’s parent

Alphabet, Inc. (“Alphabet”) for the fiscal year ending December 31, 2022, Alphabet reported net




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income of approximately $74.8 billion for 2022 revenues in excess of $282 billion. See

https://abc.xyz/assets/investor/static/pdf/20230203_alphabet_10K.pdf?cache=5ae4398.

                                     THE PATENTS-IN-SUIT

        22.     On May 10, 2022, the United States Patent and Trademark Office (“USPTO”)

issued United States Patent No. 11,327,714 (“the ’714 patent”), titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSING ELEMENT. On August 25, 2020, the USPTO

issued United States Patent No. 10,754,616 (“the ’616 patent”), titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSING ELEMENT. On November 9, 2021, the USPTO

issued United States Patent No. 11,169,775 (“the ’775 patent”), titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSING ELEMENT. On September 26, 2023, the USPTO

issued United States Patent No. 11,768,659 (“the ’659 patent”), titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSIGN ELEMENT. On September 26, 2023, the USPTO

issued United States Patent No. 11,768,660 (“the ’660 patent”), titled PROCESSING ELEENT

WITH COMPACT ARITHMETIC PROCESSING ELEMENT. On December 12, 2023, the

USPTO issued United States Patent No. 11,842,166 (“the ’166 patent”), titled PROCESSING

ELEENT WITH COMPACT ARITHMETIC PROCESSING ELEMENT. The ’714 patent, ’616

patent, ’775 patent, ’659 patent, ’660 patent and ’166 patent, (collectively the “patents-in suit” or

“Asserted Patents”), are each valid and enforceable.

        23.     The application to which the patents-in-suit claim priority (No. 61/218,691) was

filed on June 19, 2009.

        24.     Singular is the owner and assignee of all rights, title, and interest in and to the

patents-in-suit, and holds all substantial rights therein, including the right to grant licenses, to

exclude others, and to enforce and recover past damages for infringement.




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       25.     Google’s infringement of the ’714 patent, ’616 patent, ’775 patent, ’659 patent,

’660 patent and ’166 patent is willful.

       26.     Google knew or should have known of at least the ’616 patent and the ’775

patent. In December 22, 2021, Singular sued Google for infringement of these patents in this

District (case 1:21—cv-12110). The parties agreed to a dismissal of that case without prejudice

on April 20, 2023.

  PATENT ELIGIBILITY - CLAIMED ADVANCE OF REPRESENTATIVE CLAIMS

       27.     The claims asserted in this action are eligible for patenting under 35 U.S.C. § 101.

       28.     Claim 1 of the ’714 patent recites the following limitations, each of which is

found in the Accused TPU Devices as set forth below:

       A device comprising:

       at least one instruction memory adapted to store at least one instruction;

       a silicon chip comprising a plurality of first execution units, wherein each of the
       plurality of first execution units has access to memory local to that execution unit
       and is adapted to execute a first operation of multiplication: on one or more first
       input signals that represent a first numerical value using a floating-point
       representation, and on one or more second input signals that represent a second
       numerical value using a floating-point representation, to produce one or more
       first output signals that represent a third numerical value, wherein the dynamic
       range of possible valid inputs to the first operation is at least as wide as from
       1/1,000,000,000 through 1,000,000,000 and for each of at least X=10% of the
       possible valid inputs to the first operation the numerical value represented by the
       one or more first output signals differs by at least Y=0.05% from the result of an
       exact mathematical calculation of the first operation on the numerical values of
       that input;

       a second execution unit adapted to execute a second operation of traditional high-
       precision multiplication on floating point numbers that are at least 32 bits wide;
       and

       decoding circuitry adapted to decode the at least one instruction received from the
       at least one instruction memory and to send at least one control signal to at least
       one of the plurality of first execution units to cause the at least one of the plurality
       of first execution units to operate according to the at least one instruction;



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      wherein a total number of first execution units in the silicon chip exceeds, by at
      least 100 more than five times, a total number of execution units in the silicon chip
      adapted to execute the operation of traditional high-precision multiplication on
      floating point numbers that are at least 32 bits wide;

      wherein each of the plurality of first execution units is smaller than the second
      execution unit; and

      wherein the plurality of first execution units are adapted to collectively perform,
      per cycle, at least tens of thousands of the first operation.


      29.     Claim 7 of the ’616 patent recites the following limitations, each of which is

found in the Accused TPU Computing System as set forth below:

      A computing system, comprising:

      a host computer;

      a computing chip comprising:

               a processing element array comprising a plurality of first processing elements,
              wherein the plurality of first processing elements is no less than 5000 in number,
              wherein each of a first subset of the plurality of first processing elements is
              positioned at a first edge of the processing element array, and wherein each of a
              second subset of the plurality of first processing elements is positioned in the
              interior of the processing element array;
              an input-output unit connected to each of the first subset of the plurality of first
              processing elements;

              a plurality of processing element connections, each processing element
              connection connecting one of the plurality of first processing elements with
              another of the plurality of first processing elements, wherein each of the plurality
              of first processing elements is connected to at least one other of the plurality of
              first processing elements by at least one of the plurality of processing element
              connections;

              a plurality of memory units, wherein each of the plurality of first processing
              elements is associated with a corresponding one of the plurality of memory units,
              and wherein each of the plurality of memory units is local to its associated one of
              the plurality of first processing elements; and,




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              a plurality of arithmetic units, wherein each of the plurality of first processing
              elements has positioned therein at least one of the plurality of arithmetic units;
              and,

      a host connection at least partially connecting the input-output unit with the host
      computer;

      wherein the plurality of arithmetic units each comprises a first corresponding multiplier
      circuit adapted to receive as a first input to the first corresponding multiplier circuit a
      first floating point value having a first binary mantissa of width no more than 11 bits and
      a first binary exponent of width at least 6 bits, and to receive as a second input to the first
      corresponding multiplier circuit a second floating point value having a second binary
      mantissa of width no more than 11 bits and a second binary exponent of width at least 6
      bits.

      30.     Claim 7 of the ’775 patent recites the following limitations, each of which is

found in the Accused TPU Computing Systems as set forth below:

      A computing system, comprising:

      a host computer;

      a computing chip comprising:

              a processing element array comprising a plurality of first processing elements,
              wherein the plurality of first processing elements is no less than 5000 in number,
              wherein each of a first subset of the plurality of first processing elements is
              positioned at a first edge of the processing element array, and wherein each of a
              second subset of the plurality of first processing elements is positioned in the
              interior of the processing element array;

              an input-output unit connected to each of the first subset of the plurality of first
              processing elements;

              a plurality of processing element connections, each processing element
              connection connecting one of the plurality of first processing elements with
              another of the plurality of first processing elements, wherein each of the plurality
              of first processing elements is connected to at least one other of the plurality of
              first processing elements by at least one of the plurality of processing element
              connections;

              a plurality of memory units, wherein each of the plurality of first processing
              elements is associated with a corresponding one of the plurality of memory units,
              and wherein each of the plurality of memory units is local to its associated one of
              the plurality of first processing elements;



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               a plurality of first arithmetic units, wherein each of the plurality of first
               processing elements has positioned therein at least one of the plurality of first
               arithmetic units;

                a plurality of second processing elements; and

                a plurality of second arithmetic units, wherein each of the plurality of second
               processing elements has positioned therein at least one of the plurality of second
               arithmetic units; and

       a host connection at least partially connecting the input-output unit with the host
       computer;

       wherein the plurality of first arithmetic units each comprises a first corresponding
       multiplier circuit adapted to receive as a first input to the first corresponding multiplier
       circuit a first floating point value having a first binary mantissa of width no more than 11
       bits and a first binary exponent of width at least 6 bits, and to receive as a second input
       to the first corresponding multiplier circuit a second floating point value having a second
       binary mantissa of width no more than 11 bits and a second binary exponent of width at
       least 6 bits;

       wherein the first multiplier circuits corresponding to the plurality of first arithmetic units
       each comprises a first respective plurality of transistors and has no other transistors;

       wherein the plurality of second arithmetic units each comprises a second corresponding
       multiplier circuit adapted to receive as inputs to the second corresponding multiplier
       circuit two floating point values each of width at least 32 bits;

       wherein the second multiplier circuits corresponding to the plurality of second arithmetic
       units each comprises a second respective plurality of transistors;

       wherein each of the second respective pluralities of transistors of the second multiplier
       circuits corresponding to the plurality of second arithmetic units exceeds in number each
       of the first respective pluralities of transistors of the first multiplier circuits
       corresponding to the plurality of first arithmetic units.

       31.     Claim 1 of the ’659 patent recites the following limitations, each of which is

performed in the Accused TPU Devices as set forth below:

       A method, for use with a silicon chip that has a clock, the method comprising:

       completing, in a single cycle of the clock, using the silicon chip, at least tens of thousands
       of first multiplication operations;




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       wherein each of the first multiplication operations operates on

       a respective first numerical input value represented using a first floating point
       representation that has a signed binary mantissa of no more than 11 bits and a signed
       binary exponent of at least 6 bits,

       and a respective second numerical input value represented using a second floating point
       representation; and

       wherein the number of the first multiplication operations is at least 1000 more than three
       times the maximum number of traditional high-precision multiplication operations on
       floating point numbers at least 32 bits wide that the silicon chip is adapted to complete in
       a single cycle of the clock.

       32.     Claim 1 of the ’660 patent recites the following limitations, each of which is

found in the Accused TPU Devices as set forth below:

       A device comprising:

       a silicon chip comprising a plurality of execution units;

       wherein the plurality of execution units jointly comprise a first plurality of custom silicon
       arithmetic elements;

       wherein at least one of the first plurality of custom silicon arithmetic elements is adapted
       to execute a first multiplication operation

       on one or more first input signals that represent a first numerical value using a floating
       point representation that has a signed binary mantissa of no more than 11 bits and a
       signed binary exponent of at least 6 bits,

       and on one or more second input signals that represent a second numerical value using a
       floating point representation;

       wherein a total number of the first plurality of custom silicon arithmetic elements in the
       silicon chip that are adapted to execute first multiplication operations exceeds, by at least
       1000 more than three times, a total number of second custom silicon arithmetic elements
       in the silicon chip adapted to perform on each cycle the operation of traditional high-
       precision multiplication on floating point numbers that are at least 32 bits wide; and

       wherein the first plurality of custom silicon arithmetic elements are adapted to
       collectively perform, per cycle, at least tens of thousands of first multiplication
       operations.




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       33.     Claim 1 of the ’166 patent recites the following limitations, each of which is

found in the Accused TPU Devices as set forth below:

       A device comprising:

       at least one instruction memory adapted to store at least one instruction;

       a silicon chip comprising a plurality of first execution units, wherein each of the plurality
       of first execution units has access to memory local to that execution unit and is adapted
       to execute a first operation of multiplication:

       on one or more first input signals that represent a first numerical value using a floating-
       point representation that has a signed binary mantissa of no more than 11 bits and a
       signed binary exponent of at least 6 bits, and on one or more second input signals that
       represent a second numerical value using a floating-point representation, to produce one
       or more first output signals that represent a third numerical value;

       a second execution unit adapted to execute a second operation of traditional high-
       precision multiplication on floating point numbers that are at least 32 bits wide; and

       decoding circuitry adapted to decode the at least one instruction received from the at
       least one instruction memory and to send at least one control signal to at least one of the
       plurality of first execution units to cause the at least one of the plurality of first execution
       units to operate according to the at least one instruction;

       wherein a total number of first execution units in the silicon chip exceeds, by at least 100
       more than five times, a total number of execution units in the silicon chip adapted to
       execute the operation of traditional high-precision multiplication on floating point
       numbers that are at least 32 bits wide;

       wherein each of the plurality of first execution units is smaller than the second execution
       unit; and

       wherein the plurality of first execution units are adapted to collectively perform, per
       cycle, at least tens of thousands of the first operation.

       34.     The execution units or processing elements of the foregoing claims are each a

circuit that is part of a silicon chip or computing chip, which chips are themselves part of a

device (i.e., a computer) or computing system. As instructed by a computer program, these

“execution units” each performs operations on an input signal representing a first numerical

value and on another input signal representing a second numerical value, to produce a first output

signal representing a third numerical value.


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       35.     In the foregoing claims, all operations are performed on input signals representing

a first numerical value having a “high dynamic range” at least as wide as from 1/1,000,000,000

through 1,000,000,000. The “dynamic range” is the range of the value of inputs that can be

operated upon. The dynamic range is typically expressed as being at least as wide as “from 1/Z

through Z.” Floating point representations of input values (i.e., floating point numbers) that

include a signed binary exponent field of at least 6 bits, have a dynamic range of at least

1/1,000,000,000 through 1,000,000,000 (i.e., an exponent field of 6 bits can have a maximum

value of 64 since 26=64, and accounting for the bias that would be applied to the actual exponent

value in popular floating point formats, the dynamic range for a 6 bit exponent field is from 231
                                                      1
(which is > 1,000,000,000) to 2-30 (which is < 1,000,000,000)). Multiplication operations on inputs

having this dynamic range are “high dynamic range” operations, and execution units or

processing elements that execute such “high dynamic range” operations are “high dynamic

range” execution units or processing elements respectively.

       36.     In some of the foregoing claims, the operation of multiplication produces an

output signal that represents an output numerical value that for at least X = 10% of the possible

valid inputs to the operation, differs by at least 0.05% from the result of an exact mathematical

operation on the numerical values of the same input. Under some of the foregoing claims, if a

multiplication operation is performed on two input signals that are each floating point

representations of a value, the operation generates an output signal that represents an output

numerical value, which for at least X = 10% of the possible valid inputs to the operation differs

by at least 0.05% from the result of an exact mathematical operation on the numerical values of

the same inputs. Multiplication operations having this error distribution are “low precision”




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operations, and execution units or processing elements that execute such “low precision”

operations are “low precision” execution units or processing elements respectively.

       37.     In some of the foregoing claims, the operation of multiplication is performed on

two input signals each representing a first numerical value using a floating point representation

that includes a signed binary exponent field of at least 6 bits and a signed binary mantissa field of

no more than 11 bits. The representation error of such numerical values, when representing a

value B for example, can be as high as 0.1% compared to a traditional single-precision

representation of the value B. Multiplication operations on such numerical values are also “low

precision” operations herein, and execution units or processing elements that operate on such

numerical value are also “low precision” execution units or processing elements respectively.

       38.     Multiplication operations having the “high dynamic range” described in

paragraph 35 and the “low precision” described in either paragraph 36 or paragraph 37 are “low

precision high dynamic range” or “LPHDR” operations. Execution units (or processing

elements) having the “high dynamic range” described in paragraph 35 and the “low precision”

described in either paragraph 36 or paragraph 37 are “low precision high dynamic range” or

“LPHDR” execution units (or processing elements).

       39.     In some of the foregoing claims, a “second execution unit” is configured to

execute a second operation of traditional high-precision multiplication. This operation is

performed on the Institute of Electrical and Electronics Engineers (IEEE) single-precision or

double-precision floating point numbers that are at least 32 bits wide, which have high dynamic

range. In a conventional multiplication operation performed on two input signals that are each

single-precision floating point representations of a value, the operation does not generate an

output signal that represents an output numerical value with low precision. Such multiplication




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operations are “traditional high-precision” operations, and the corresponding execution units (or

processing elements) are “traditional high-precision” execution units (or processing elements),

and not LPHDR operations, execution units, or processing elements respectively.

       40.     An example of the invention of the foregoing claims is a computer having a first

number of first execution units, where each first execution unit is structured to receive as inputs

electrical signals that represent numbers using a logarithmic number system format with a signed

integer field of 6 bits and a signed fraction field of 7 bits. See Figure 5 of the ’714 patent below.




Each such execution unit is an LPHDR execution unit. This example computer further includes a

second number of traditional high-precision execution units that is far smaller than the first

number of LPHDR execution units.

       41.     Another example of the invention of claim 1 is a computer having a first number

of first execution units, where each first execution unit is structured to receive as inputs electrical

signals that represent numbers using a floating point number system format with a signed

exponent field of at least 6 bits and a signed mantissa field of no more than 11 bits. This would

include a computer having a first number of first execution units, where each first execution unit

is structured to receive as inputs electrical signals that represent numbers using the “brain float



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16” (bfloat16) number format, which is a floating point number system format with a signed

exponent field of 8 bits and a signed mantissa field of 8 bits.




Each such execution unit is an LPHDR execution unit. This example computer further includes a

second number of traditional high-precision execution units that is far smaller than the first

number of LPHDR execution units.

       42.     The devices, computer systems and chips of the foregoing claims, and the

devices, computer systems and chips that perform the methods of the foregoing claims,

substantially differ structurally from devices, computer systems and chips in the prior art. For

example, graphics processors that included support for traditional IEEE half precision 16 bit

floating point, alongside support for 32 bit floating point and 64 bit floating point, as disclosed in

the each of the Asserted Patents, did not have any execution units or processing elements that

receive as an input an electrical signal representing numbers having a dynamic range at least as

wide as from 1/1,000,000 through 1,000,000, and that transmit as an output for at least X = 10%

of the possible valid inputs to that operation, an electrical signal representing numbers that differ

by at least 0.05% from the result of an exact mathematical calculation of that operation on the

numerical values of that same input. Such graphics processors also did not have execution units

or processing elements structured to receive as inputs electrical signals that represent numbers

using a floating point number system format with a signed exponent field of at least 6 bits and a

signed mantissa field of no more than 11 bits. The graphics processors disclosed in the Asserted

Patents did not include a single such low precision high dynamic range execution unit or

processing element. Dr. Bates was the first to reduce to practice a computer in which a total


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number of such LPHDR execution units (or processing elements) in a silicon chip is no less than

5000, or exceeds by a very large number (at least 100 more than five times) a total number of

execution units (or processing elements) in the silicon chip adapted to execute the operation of

traditional high-precision multiplication on floating point numbers that are at least 32 bits wide.

Dr. Bates even coined “LPHDR” to describe such novel low precision high dynamic range

execution units. As computers that included such numbers of LPHDR execution units or

processing elements did not exist in the prior art, Dr. Bates’ invention is not the use of existing

computing technology or an existing implementation of a computer processor.

       43.      The devices, computer systems and chips of the foregoing claims, and the

devices, computer systems and chips that perform the methods of the foregoing claims, have

many advantages over the devices, computer systems and chips using conventional architectures.

They include, but are not limited to, the following advantages:

       a. including many more multiplier circuits on a single computer chip having a given set

             of resources, such as transistors, than prior art computer chips having a similar set of

             resources, by utilizing relatively imprecise multiplication circuits that represent and

             manipulate numerical values using smaller bit widths and thus requiring far fewer

             transistors than conventional, full-precision multiplication circuits;

       b. performing a far greater number of operations per clock cycle – potentially on the

             order of 100 times or more – than a conventional computer of the time having the

             same number of transistors, semiconductor fabrication process and power draw; and

       c. supporting software programs that require operations to be performed on numbers

             having high dynamic range.




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       44.     The devices, computer systems and chips of the foregoing claims, and the

devices, computer systems and chips that perform the methods of the foregoing claims, are able

to execute a far larger number of multiplication operations (for example) per period of time than

their conventional counterparts, while supporting software programs that require multiplication

operations to be performed on numbers having a high dynamic range. By deploying massive

numbers of LPHDR execution units or processing elements in conjunction with far smaller

numbers of traditional high-precision execution units or processing elements, the device supports

operations performed at a wider range of precisions and dynamic ranges while still performing at

previously unseen levels of computing efficiency. Furthermore, by incorporating a computing

device having such ratios of low and high precision execution units, these novel devices,

computer systems and chips each implement a heterogeneous architecture that can support a

wider range of software programs.

       45.     The computer systems of some of the foregoing claims comprise a new

computing architecture further comprising a massively parallel array of LPHDR execution units

or processing elements (“processing element array” or “PEA”) and a host responsible for overall

control. The host seeks to have the PEA perform massive amounts of computations in a useful

way by causing the PEA’s execution units or processing elements to each perform computations

typically on data locally stored in that execution unit, with all the execution units or processing

elements performing those computations in parallel with one another. To most efficiently control

the PEA, the system may include a specialized control unit (CU) having the primary task of

retrieving and decoding instructions from an instruction memory and issuing partially decoded

instructions to all the execution units or processing elements in the PEA. The computer systems

of these claims enable hosts, which may themselves be conventional, to control a computer




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system that performs massive amounts of arithmetic using a small amount of computing

resources (e.g., transistors or volume) relative to conventional computer systems which could not

perform such amounts of arithmetic using such a small amount of computing resources.

       46.     The claimed advances achieved by the PEA of some of the foregoing claims—

primarily the ability to perform massive amounts of arithmetic using a small amount of

computing resources (e.g., transistors or volume) relative to conventional computer systems—is

coupled with another claimed advance achieved by Dr. Bates’ claimed novel computer

architectures. Some of the foregoing claims further comprise an input/output unit (IOU) to serve

as an interface between the host and various peripherals in the computing system on the one

hand, with the PEA on the other hand. More specifically, in some of the foregoing claims, the

I/O unit is connected to execution units or processing elements positioned at one of more edges

of the PEA, and those edge execution units or processing elements in turn are connected to

execution units or processing elements positioned inside (i.e, not at the edges) of the PEA. This

arrangement of I/O units and the PEA, enables the PEA to operate at or near its peak

computational throughput, even though the host performs operations far less quickly than the

PEA, by reducing the number of PEAs (and therefore the amount of data moved into and outout

of the PEA per period of time) with which the host has to interface directly. Put another way, this

arrangement prevents the computer architecture created by Dr. Bates, with its PEA that operates

so much faster than the host, from becoming I/O bound (i.e., because the PEA processes data far

faster than any conventional host that is part of the same computing system). Importantly, this

claimed arrangement can achieve this crucial advantage while minimizing the number of long

distance transfers within the computer system (e.g., such long distance transfers would arise for




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example if the I/O unit had to interact with processing elements at the far end of a PEA), and

without requiring large amounts of hardware resources.

                                          COUNT I
                (Google’s Infringement of United States Patent No. 11,327,714)

       47.     Paragraphs [1-46] are reincorporated by reference as if fully set forth herein.

       48.     Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 1 of the ’714 patent by making, using, testing,

selling, offering for sale and/or importing into the United States a plurality of Accused TPU

Devices that are grouped within a pod (“Accused TPU Pod”). The Accused TPU Devices, in

Google’s own words, “power” at least Google Translate, Photos, Search, Assistant, and Gmail,

as published by Google:




       49.     The Accused TPU Devices in the Accused TPU Pods share a similar architecture

in that they all implement low precision high dynamic range arithmetic operations, specifically

multiplication of two traditional high precision floating point value at reduced bfloat16 precision.



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       50.     An Accused TPU Pod, that groups one or more Accused TPU Devices

therewithin, is an example of a “device,” as claimed by the ’714 patent. As published by Google:




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        51.     Each Accused TPU Device within an Accused TPU Pod (“device”) infringes

claim 1 of the ’714 patent by inter alia, comprising “at least one instruction memory adapted to

store at least one instruction,” because each Accused TPU Device contains instruction memory

IMEM.




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       52.     Each Accused TPU Device infringes claim 1 of the ’714 patent, by inter alia,

comprising “a silicon chip comprising a plurality of first execution units, wherein each of the

plurality of first execution units is …. adapted to execute a first operation of multiplication on

one or more first input signals that represent a first numerical value using a floating-point

representation, and on one or more second input signals that represent a second numerical value

using a floating-point representation, to produce one or more first output signals that represent

a third numerical value.”

       a.      Each of the Accused TPU Devices, a TPUv4 chip or a TPUv5 chip, is a silicon

               chip. Each of these chips contains one or more TensorCores which each have one

               of more MXUs. Specifically with respect to the Accused TPU Devices, each

               TPUv4 chip has 8 MXUs (four MXUs per TensorCore, 2 TensorCores per chip),


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       and each TPUv5 chip has 4 MXUs (four MXUs per TensorCore, 1 TensorCore

       per chip). As published by Google:




b.     Each MXU contains a systolic array having 128 x 128 “multiply-accumulators,”

       which each include a multiplier circuit (MXU Multiplier Circuit). As published by

       Google:




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c.     Each of those MXU Multiplier Circuits is associated with circuitry for taking two

       32-bit floating point format (“FP32 format” or “float32”) values and converting

       each to a bfloat16 value (an MXU Multiplier Circuit and said taking/converting

       circuitry, collectively an “MXU Reduced Precision Multiply Cell”). An MXU

       Reduced Precision Multiply Cell is a “first execution unit.” 16,384 MXU

       Reduced Precision Multiply Cells are a plurality of “first execution units.” As

       published by Google:




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d.     The “first operation of multiplication” executed by each individual MXU

       Reduced Precision Multiply Cell is a multiplication operation that is (i) performed

       on two input signals each representing a float32 numerical value, but (ii) carried

       out at “reduced bfloat16 precision.” Such an operation (e.g., “X[2,0]*W[0,0]” in

       the example equation for Y[2,0] that Google provides below) is a part of a larger

       float32 matrix multiplication operation (e.g., Y= X*W in the example Google

       provides below), where the individual multiplications are performed at “reduced

       bfloat16 precision” by the MXU as a whole. As published by Google:




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BFloat16: The secret to high performance on Cloud TPUs, Google Cloud Blog (Aug. 23, 2019),
https://cloud.google.com/blog/products/ai-machine-learning/bfloat16-the-secret-to-high-
performance-on-cloud-tpus.




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e.     A respective pair of inputs to each individual MXU Reduced Precision Multiply

       Cell comprise the “first input signal” and the “second input signal.” The

       respective pair of the first and second input signals provide to each individual

       MXU Reduced Precision Multiply Cell, the respective pair of the “first numerical

       value” and the “second numerical value.” The “first numerical value” represented

       by the “first input signal,” and the “second numerical value” represented by the

       “second input signal,” are all float32 numbers. Float32 numbers are “numerical

       values.” As published by Google:




f.     The “first input signal” and the “second input signal" for each individual MXU

       Reduced Precision Multiply Cell are respectively the signals representing the two

       float32 input values before they are converted to bfloat16 format and multiplied

       by the MXU Multiplier Circuit. The “first output signal” produced by an MXU

       Reduced Precision Multiply Cell is the result of the multiplication operation


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  performed on these float32 values after being reduced to bfloat16 precision. That

  result of the multiplication operation, i.e., “a third numerical value,” is

  represented by the “first output signal.” As published by Google:




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       53.     In the Accused TPU device, each one of first execution units “has access to

memory local to that execution unit.” Each of the aforementioned first execution units (an MXU

Reduced Precision Multiply Cell) has an associated memory unit, as shown in Figure 3 of the

Google patent application 2018/0336165 (“the Google ’165 patent application”), whose

specification has been represented by Google as being reflective of the architecture of the TPUv2

chip and/or the TPUv3 chip, which as noted before, has features common with at least one of the

Accused TPU Devices. Each such memory unit is local to its associated processing element. See

also, e.g., https://cloud.google.com/tpu/docs/beginners-guide (“the TPU loads the parameters

from memory into the matrix of multipliers and adders”).




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This memory is used, for example, to store “weights” or “parameters” as part of algorithms that

relate to neural networks. See, e.g., https://www.programmersought.com/article/66614714332/

and previously https://cloud.google.com/tpu/docs/beginners-guide (“the TPU loads the

parameters from memory into the matrix of multipliers and adders”).

       54.     In the Accused TPU device, each execution unit “produces one or more first

output signals that represent a third numerical value, wherein the dynamic range of possible

valid inputs to the first operation is at least as wide as from 1/1,000,000,000 through

1,000,000,000 and for each of at least X=10% of the possible valid inputs to the first operation

the numerical value represented by the one or more first output signals differs by at least

Y=0.05% from the result of an exact mathematical calculation of the first operation on the

numerical values of that input.” Specifically:

       a.      For each MXU Reduced Precision Multiply Cell (the “execution unit”), “the

               dynamic range of the possible valid inputs to the first operation is at least as wide



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               as from 1/1,000,000 through 1,000,000.” As shown above, each MXU Reduced

               Precision Multiply Cell performs a float32 multiplication operation at “reduced

               bfloat16 precision” on valid input signals representing numerical values having a

               float32 format. A float32 numerical value, whose format is shown below, has the

               following dynamic range:

               Minimum: 2−126 ≈ 1.175494351 × 10−38

               Maximum: (2 - 2−23) × 2127 ≈ 3.402823466 × 1038


Even after the convertion of each float32 input into a respective bfloat15 input, the dynamic

range of each such input is still approximately the same, from about 1 × 10−38 to about 3 × 10−38.

As published by Google:




       b.      For each MXU Reduced Precision Multiply Cell, “for at least X=10% of the

               possible valid inputs to the first operation the numerical values represented by the

               one or more first output signal of the LPHDR unit executing the first operation on

               that input differs by at least Y=0.05% from the result of an exact mathematical


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       calculation of the first operation on the numerical values of that input.”

       Specifically, each MXU Reduced Precision Multiply Cell performs a float32

       multiplication operation but does so in Google’s own words at “reduced bfloat16

       precision.” As published by Google:




c.     Each MXU Reduced Precision Multiply Cell takes the following steps: (i)

       receives as input two signals that each represent a float32 numerical value, (ii)

       converts each of the received float32 numerical values to a bfloat16 numerical

       value, (iii) multiplies the resulting pair of bfloat16 numerical values with each

       other, and (iv) adjusts the format of the result of the bfloat16 multiplication

       generated in step (iii), if needed, to produce an output signal that represents a

       float32 numerical value to be accumulated. When the float32 numerical values

       that are output by the Accused TPU Device’s low precision multiplication

       operations, (i.e., the multiplication operation performed on float32 inputs at

       “reduced bfloat16 precision”), are compared to the numerical values that would




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               have been produced by the exact full precision multiplication operations on those

               same respective valid input float32 numerical values (the ones mentioned in (i)

               just above), the Accused TPU Device’s output float32 numerical values differ, for

               at least 10% of those input float32 numerical values, from the respective values

               that would have been produced by the exact full precision multiplication

               operations, by at least 0.05%. This is illustrated by the Singular test results shown

               below.




       55.     In each Accused TPU Device, there is at least one “second execution unit adapted

to execute a second operation of traditional high-precision multiplication on floating point

numbers that are at least 32 bits wide.” Each TensorCore (each TPUv4 has two TensorCores and

TPUv5e has a TensorCore, as explained above) has a Vector Processing Unit (VPU). Each VPU

has 2,048 (16 x 128) ALUs, half of which are execution units adapted to execute multiplication

on floating point numbers that are at least 32 bits wide. See, e.g.,

https://codelabs.developers.google.com/codelabs/keras-flowers-data/#2 (“The VPU handles

float32 and int32 computations.” As published by Google:




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       56.     In the Accused TPU Devices, "a total number of first execution units in the silicon

chip exceeds, by at least 100 more than five times, a total number of execution units in the silicon

chip adapted to execute the operation of traditional high-precision multiplication on floating

point numbers that are at least 32 bits wide;” Each MXU Reduced Precision Multiply Cell is

one of the first execution units, as described above. A TPUv4 chip has eight MXUs (two

TensorCores per TPUv4, and four MXUs per TensorCore), while a TPUv5 chip has four MXUs

(one TensorCores per TPUv5e, and four MXUs per TensorCore). Each MXU has 16,384 MXU

Reduced Precision Multiply Cells as shown above. Therefore, a TPUv4 chip has 131,072 MXU

Reduced Precision Multiply Cells and a TPUv5 chip has 65,536 MXU Reduced Precision

Multiply Cells, which each are the “first execution units.” By contrast, as shown above, each

TensorCore has a VPU, each VPU has 2,048 ALUs, and each VPU has 1,024 ALUs that perform

traditional high precision multiplication on float32 numbers, which are the “second execution

units” in the claim. Therefore, each TPUv4 chip has 131,072 of the first execution units and

2,048 of the second execution units (from two TensorCores). Each TPUv5 chip has 65,536 of the

first execution units and 1,024 of the second execution units (from one TensorCore). 131,072

exceeds by at least 100 more than five times 2,048, and 65,536 exceeds by at least 100 more than


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five times 1,024. Therefore, for all the Accused TPU Devices, there are “a total number of first

execution units in the silicon chip exceeds, by at least 100 more than five times, a total number of

execution units in the silicon chip adapted to execute the operation of traditional high-precision

multiplication on floating point numbers that are at least 32 bits wide.” As published by Google:




       57.     In the Accused TPU Devices, “each of the plurality of first execution units is

smaller than the second execution unit.” MXU Reduced Precision Multiply Cells as defined

above are smaller than the VPU ALUs that are multipliers. Google engineer Jeffrey Dean, the

head of Google Brain, expressly admitted this:

       Furthermore, one major area & power cost of multiplier circuits for a
       floating point format with M mantissa bits is the (M+1) ⨉ (M+1) array of
       full adders (that are needed for multiplying together the mantissa portions
       of the two input numbers. The IEEE fp32, IEEE fp16 and bfloat16
       formats need 576 full adders, 121 full adders, and 64 full adders,
       respectively. Because multipliers for the bfloat16 format require so
       much less circuitry, it is possible to put more multipliers in the same chip
       area and power budget, thereby meaning that ML accelerators employing
       this format can have higher flops/sec and flops/Watt, all other things being
       equal.

Dean, Jeffrey. (2020). 1.1 The Deep Learning Revolution and Its Implications for Computer

Architecture and Chip Design. 8-14. 10.1109/ISSCC19947.2020.9063049 (emphasis added).

This fact was further confirmed in a paper published by the team of Google engineers

responsible for designing and building the accused TPUs (including, inter alia, Norman Jouppi

and David Patterson):




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Jouppi, Norman, et al.. “Ten Lessons From Three Generations Shaped Google’s TPUv4i:

Industrial Product,” in 2021 ACM/IEEE 48th Annual International Symposium on Computer

Architecture (ISCA), Valencia, Spain, 2021 pp. 1-14 at 3 (emphasis added). According to the

above table, a BFloat 16 multiplier requires less than 20% as much energy per operation as an

IEEE FP32 multiplier (both made using the same 7 nm semiconductor fabrication process). The

lower power requirements of BFloat16 multipliers is a result of the fact that they include fewer

transistors than full-precision IEEE FP32 multipliers.

       58.     In the Accused TPU Devices, there is “decoding circuitry adapted to decode the

at least one instruction received from the at least one instruction memory and to send at least

one control signal to at least one of the plurality of first execution units to cause the at least one

of the plurality of first execution units to operate according to the at least one instruction.” As

shown above, the Accused TPU Devices comprise instruction memory and also comprise

circuitry for executing the instructions (for example the TPU arithmetic operations described

above). Therefore, the Accused TPU Devices have such decoding circuitry.


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       59.     In the Accused TPU Devices, “the plurality of first execution units are adapted to

collectively perform, per cycle, at least tens of thousands of the first operation.” The first

execution units are the MXU Reduced Precision Multiply Cells as described above. The first

operation is the multiplication operation being performed at “reduced bfloat16 precision” by

each MXU Reduced Precision Multiply Cell. Collectively, the MXU Reduced Precision

Multiply Cells in TPUv4 chips perform at least tens of thousands of first bfloat16 multiplication

operations per clock cycle (138 bfloat16 TFLOPS with a clock rate of 1050MHz, which means

the Accused TPU Device is performing  131,000 reduced precision bfloat16 multiplication

operations per clock cycle, and since TPUv5 chips have half the MXUs as TPUv4 chips, the

MXU Reduced Precision Multiply Cells in TPUv5 chips perform  65,000 bfloat16 reduced

precision multiplication operations per clock cycle).




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       60.     In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       61.     Due to its monitoring of Singular’s patents and applications, Google knew of the

application for the ’714 patent prior to the issuance of the patent on May 10, 2022. For example,



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Google’s attorneys prepared and filed two petitions for Inter Partes Review (“IPR”) of the ’616

patent. In each of those petitions, Google identified numerous patents and applications related to

the ’616 patent, including application serial number US17/367,051, which led to the ’714 patent.

Thus, at least since 12/22/2022, when Google identified the ’051 application in, inter alia, its

Petition for Inter Partes Review in IPR2023-00395, Google has knowledge of the ‘051

application. Before making such identification, counsel for Google reviewed application serial

number US17/367,051.

       62.     As a result of Google’s infringement of the ’714 patent, Singular has suffered

damages in an amount to be determined at trial.

                                         COUNT II
                (Google’s Infringement of United States Patent No. 10,754,616)

       63.     Paragraphs [1-62] are reincorporated by reference as if fully set forth herein.

       64.     Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 7 of the ’616 patent by making, using, testing,

selling, offering for sale and/or importing into the United States the Accused TPU Computing

Systems alone or in combination with its existing data servers. An Accused TPU Computing

System include a plurality of Accused TPU Devices. Cloud TPU (an Accused TPU Computing

System), in Google’s own words, “powers” at least Google Translate, Photos, Search, Assistant,

and Gmail. As published by Google:




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       65.     The Accused TPU Computing Systems are each examples of a “computing

system,” as claimed by the ’616 patent. As published by Google:




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       66.     The Accused TPU Computing Systems each comprise a “host computer” as

claimed by the ’616 patent. Each TPU board, which each have multiple Accused TPU Devices,

is connected to a TPU Host—a physical computer connected to one or more TPU boards on

which there are Accused TPU Devices, on which a virtual machine (VM) runs—for loading and

preprocessing data to be fed to the Accused TPU Devices. The TPU Host is a “host computer.”




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       67.     The Accused TPU Computing System comprises the Accused TPU Devices, each

of which is a “computing chip.”




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       68.      In the Accused TPU Computing System, the Accused TPU Devices comprise “a

processing element array comprising a plurality of first processing elements, wherein the

plurality of first processing elements is no less than 5000 in number, wherein each of a first

subset of the plurality of first processing elements is positioned at a first edge of the processing

element array, and wherein each of a second subset of the plurality of first processing elements

is positioned in the interior of the processing element array.” As published by Google:

       a. The Accused TPU Devices each contain TensorCores which each have one of more

             MXUs. Specifically, each TPUv4 chip has 8 MXUs (four MXUs per TensorCore, 2

             TensorCores per chip), and each TPUv5 chip has 4 MXUs (four MXUs per

             TensorCore, 1 TensorCore per chip). As published by Google:




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b. Each MXU contains a systolic array having 128 x 128 “multiply-accumulators,” each

   of which includes a multiplier circuit, an adder circuit, and various data movement

   circuitry (MXU Multiply Add Cell). The array of 128 x 128 MXU Multiply Add

   Cells is a “a processing element array comprising a plurality of first processing

   elements, wherein the plurality of first processing elements is no less than 5000 in

   number.” Each MXU Multiply Add Cell is a “first processing element.” Figure 1C,

   Figure 2 and Figure 3 below are taken from the Google ’165 patent application,

   whose specification has been represented by Google as being reflective of the

   architecture of the TPUv2 chip and/or the TPUv3 chip, which as noted before, has

   features common with at least one of the Accused TPU Devices. As represented in

   the Google ’165 patent application, Figure 3 illustrates a “multi-cell inside a matrix

   multiply unit” of a TensorCore that includes an array of “multiply-add sub-units that

   can be grouped into multi-cells.” Each multiply-add sub-unit, i.e., a MXU Multiply

   Add Cell, is a “first processing element.”




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c. As described above, a TPUv4 chip has eight MXUs (two TensorCores per TPUv4,

   and four MXUs per TensorCore), while a TPUv5 chip has four MXUs (one

   TensorCores per TPUv5e, and four MXUs per TensorCore). As also described above,

   each MXU has 16,384 MXU Multiply Add Cells as shown above. Therefore, a

   TPUv4 chip has 131,072 MXU Multiply Add Cells and a TPUv5 chip has 65,536

   MXU Multiply Add Cells, which each are the “first processing elements.” A

   computing chip in the Accused TPU System therefore has a “plurality of first

   processing elements is no less than 5000 in number.”

d. In the MXU, “each of a first subset of the plurality of first processing elements is

   positioned at a first edge of the processing element array, and wherein each of a

   second subset of the plurality of first processing elements is positioned in the interior

   of the processing element array.” Each MXU includes horizontally and vertically

   interconnected processing elements arranged in systolic arrays, with a first subset of

   the MXU Multiply Add Cells (“first processing elements”) for example positioned in

   a column at the left edge of the array starting at the second row and ending at the

   sixth row, and a second subset of the MXU Multiply Add Cells (“first processing




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             elements”) for example positioned interior and to the right of the at least five left edge

             processing elements:




       69.      In the computing chip (an Accused TPU Device, which can be a TPUv4 chip or a

TPUv5 chip) of the Accused TPU System, there is “an input-output unit connected to each of the

first subset of the plurality of first processing elements.” As illustrated in Figure 2 and Figure 1C


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of Google’s 165 patent application as shown below, each TPU chip includes at least one input-

output unit connected to the aforementioned first subset of MXU Multiply Add Cells

(“processing elements”) positioned at the edge of the array.




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       70.     In the computing chip (an Accused TPU Device, which can be a TPUv4 chip or a

TPUv5 chip) of the Accused TPU System, there is “a plurality of processing element

connections, each processing element connection connecting one of the plurality of first

processing elements with another of the plurality of first processing elements, wherein each of

the plurality of first processing elements is connected to at least one other of the plurality of first

processing elements by at least one of the plurality of processing element connections.” The

MXU in the Accused TPU Device each comprise a plurality of processing element connections.

Each such processing element connection connects a first processing element (i.e., an MXU

Multiply Add Cell) with at least one other first processing element (i.e., another MXU Multiply

Add Cell). Each such first processing element is connected to at least another such first



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processing element by a processing element connection. Figure 1C, Figure 2 and Figure 3 below

are taken from the Google ’165 patent application. As represented in the Google ’165 patent

application, Figure 3 illustrates a “multi-cell inside a matrix multiply unit” of a TensorCore, in

which the cells 350 together with the data movement circuitry, e.g., multiplexers, are each an

MXU Multiply Add Cell. Figure 3 also illustrates many instances of a “processing element

connection connecting one of the plurality of first processing elements with another of the

plurality of first processing elements, wherein each of the plurality of first processing elements is

connected to at least one other of the plurality of first processing elements by at least one of the

plurality of processing element connections,” namely the connections that are between the MXU

Multiply Add Cells (in Figure 3) (see the Google ’165 patent application, paragraph 0042,

paragraph 0055, paragraph 0063 and Figure 3).




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       71.     In the computing chip (an Accused TPU Device, which can be a TPUv4 chip or a

TPUv5 chip) of the Accused TPU System, there is “a plurality of memory units, wherein each of

the plurality of first processing elements is associated with a corresponding one of the plurality


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of memory units, and wherein each of the plurality of memory units is local to its associated one

of the plurality of first processing elements.” Each of the aforementioned processing elements

(an MXU Multiply Add Cell) has an associated memory unit, as shown in Figure 3 of the Google

’165 patent application. Each such memory unit is local to its associated processing element. See

also, e.g., https://cloud.google.com/tpu/docs/beginners-guide (“the TPU loads the parameters

from memory into the matrix of multipliers and adders”).




       72.     In the computing chip (an Accused TPU Device, which can be a TPUv4 chip or a

TPUv5 chip) of the Accused TPU System, there is “a plurality of arithmetic units, wherein each

of the plurality of first processing elements has positioned therein at least one of the plurality of

arithmetic units.” As shown below in Figures 1c, 2 and 3 of the Google ’165 patent application,

each of the aforementioned first processing elements (each an MXU Multiply Add Cell)

comprises a multiplier circuit and adder circuit (an “MXU AU”). An MXU AU is a one of “a




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plurality of arithmetic units.“ An MXU AU in turn comprises a multiplier circuit (MXU

Multiplier Circuit).




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       73.     In the Accused TPU System, there is “a host connection at least partially

connecting the input-output unit with the host computer.” The Accused TPU Devices—the

TPUv4 chips and/or the TPUv5 chips—and the aforementioned input output units on those chips

communicate with the TPU Host via host connections. See https://cloud.google.com/tpu/docs/.

At least some of these host connections at least partially connect the aforementioned input-output

units with the aforementioned TPU Host.




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       74.     In the Accused TPU System, and specifically in the Accused TPU Devices within

the Accused TPU System, the MXU AUs (the “arithmetic units”) “each comprises a first

corresponding multiplier circuit adapted to receive as a first input to the first corresponding

multiplier circuit a first floating point value having a first binary mantissa of width no more than

11 bits and a first binary exponent of width at least 6 bits, and to receive as a second input to the

first corresponding multiplier circuit a second floating point value having a second binary

mantissa of width no more than 11 bits and a second binary exponent of width at least 6 bits.”

The inputs received by the multiplier circuit (the MXU Multiplier Circuit) within each MXU


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AU, comprise two floating point values having a bfloat16 format. Each MXU Multiplier Circuit

performs the operation of multiplication on inputs each having a bfloat16 format. The bfloat16

format used in MXU Multiplier Circuits has 8 signed exponent bits and 8 signed mantissa bits,

which means the “multiplier circuits” of the Accused TPU System are adapted to receive inputs

having a binary mantissa of width that is no more than 11 bits and a binary exponent of width

that is at least 6 bits.




        75.      Google copied from Dr. Bates the idea of providing in a computing system

thousands of processing elements in a processing element array that each perform floating-point

arithmetic using such a low-precision, high dynamic range number format. In knowingly



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adopting Dr. Bates’ patented computer architectures, Google reaps the very same benefits that

were predicted by Dr. Bates in his patent application more than 10 years ago. As published by

Google and predicted by Dr. Bates in his patent application:




       76.     Due to its monitoring of Singular’s patents and applications, Google knew of the

application for the ’616 patent. For example, Google’s attorneys prepared and filed two petitions

for Inter Partes Review (“IPR”) of the ’616 patent.

       77.     As a result of Google’s infringement of the ’616 patent, Singular has suffered

damages in an amount to be determined at trial.

                                         COUNT III
                (Google’s Infringement of United States Patent No. 11,169,775)

       78.     Paragraphs [1-77] are reincorporated by reference as if fully set forth herein.

       79.     Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 7 of the ’775 patent by making, using, testing,



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selling, offering for sale and/or importing into the United States the Accused TPU Computing

Systems alone or in combination with its existing data servers. An Accused TPU Computing

System include a plurality of Accused TPU Devices. Cloud TPU (an Accused TPU Computing

System), in Google’s own words, “powers” at least Google Translate, Photos, Search, Assistant,

and Gmail. As published by Google:




       80.     The Accused TPU Computing System comprises “A computing system,

comprising: a host computer; a computing chip comprising: a processing element array

comprising a plurality of first processing elements, wherein the plurality of first processing

elements is no less than 5000 in number, wherein each of a first subset of the plurality of first

processing elements is positioned at a first edge of the processing element array, and wherein

each of a second subset of the plurality of first processing elements is positioned in the interior

of the processing element array; an input-output unit connected to each of the first subset of the

plurality of first processing elements; a plurality of processing element connections, each

processing element connection connecting one of the plurality of first processing elements with

another of the plurality of first processing elements, wherein each of the plurality of first

processing elements is connected to at least one other of the plurality of first processing elements

by at least one of the plurality of processing element connections; a plurality of memory units,


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wherein each of the plurality of first processing elements is associated with a corresponding one

of the plurality of memory units, and wherein each of the plurality of memory units is local to its

associated one of the plurality of first processing elements.” See paragraphs 65 to 71 inclusive.

       81.     In the computing chip (an Accused TPU Device, which can be a TPUv4 chip or a

TPUv5 chip) of the Accused TPU Computing System, there is “a plurality of first arithmetic

units, wherein each of the plurality of first processing elements has positioned therein at least

one of the plurality of first arithmetic units.” As shown below in Figures 1c, 2 and 3 of the

Google ’165 patent application, each of the aforementioned first processing elements comprises

one MXU AU (“first arithmetic unit”). See paragraph 72.




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       82.     In the Accused TPU Devices of the Accused TPU Computing System, there is a

“a plurality of second processing elements; and a plurality of second arithmetic units, wherein


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each of the plurality of second processing elements has positioned therein at least one of the

plurality of second arithmetic units.” Each TensorCore (as mentioned above, the Accused TPU

Devices each have TensorCores with each TPUv4 having two TensorCores and TPUv5e having

a TensorCore) has a Vector Processing Unit (VPU). Each VPU has 2,048 (16 X 128) processing

elements which each comprise ALUs (arithmetic logic units), which are “second arithmetic

units.” See, e.g., https://codelabs.developers.google.com/codelabs/keras-flowers-data/#2 (“The

VPU handles float32 and int32 computations”). As published by Google:




       83.     In the Accused TPU Computing System, there is “a host connection at least

partially connecting the input-output unit with the host computer.” See paragraph 73.

       84.     The Accused TPU System, and specifically in the Accused TPU Devices within

the Accused TPU System, the MXU AUs (each a “first arithmetic unit”) “each comprises a first

corresponding multiplier circuit adapted to receive as a first input to the first corresponding

multiplier circuit a first floating point value having a first binary mantissa of width no more than

11 bits and a first binary exponent of width at least 6 bits, and to receive as a second input to the

first corresponding multiplier circuit a second floating point value having a second binary




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mantissa of width no more than 11 bits and a second binary exponent of width at least 6 bits.”

See paragraph 74.

       85.     In the Accused TPU Device of the Accused TPU Computing System, “the first

multiplier circuits corresponding to the plurality of first arithmetic units each comprises a first

respective plurality of transistors and has no other transistors.” An Accused TPU Device, and

each of its constituent parts including the MXU AUs (“first arithmetic unit”) and the MXU

Multiplier Circuit (“multiplier circuit” in the MXU AU), each comprise a plurality of transistors.

The MXU Multiplier Circuit comprises a plurality of transistors and has no other transistors

besides the plurality.




       86.     In the Accused TPU Device of the Accused TPU Computing System, “the

plurality of second arithmetic units each comprises a second corresponding multiplier circuit

adapted to receive as inputs to the second corresponding multiplier circuit two floating point


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values each of width at least 32 bits.” As mentioned above, each TensorCore (each TPUv4 has

two TensorCores and TPUv5e has a TensorCore, as explained above) has a Vector Processing

Unit (VPU). As mentioned above, each VPU has 2,048 (16 x 128) processing elements which

each comprise ALUs (arithmetic logic units), which are arithmetic units. Half of these ALUs –

1,024 of them—each comprise a multiplier circuit adapted to receive as inputs two floating point

numbers that are each of a width that is least 32 bits wide. See, e.g.,

https://codelabs.developers.google.com/codelabs/keras-flowers-data/#2 (“The VPU handles

float32 and int32 computations.”) As published by Google:




       87.     In the Accused TPU Device of the Accused TPU Computing System, “the second

multiplier circuits corresponding to the plurality of second arithmetic units each comprises a



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second respective plurality of transistors.” An Accused TPU Device, and each of its constituent

parts including the VPU ALUs (“second arithmetic unit”) and each VPU ALUs multiplier circuit

(“second multiplier circuit”), each comprise a plurality of transistors.




        88.     In the Accused TPU Devices of the Accused TPU Computing System, “each of

the second respective pluralities of transistors of the second multiplier circuits corresponding to

the plurality of second arithmetic units exceeds in number each of the first respective pluralities

of transistors of the first multiplier circuits corresponding to the plurality of first arithmetic

units.” Each MXU Reduced Precision Multiply Cells as defined above is smaller than each

multiplier circuit in the VPU ALU. Google engineer Jeffrey Dean, the head of Google Brain,

expressly admitted this:

        Furthermore, one major area & power cost of multiplier circuits for a
        floating point format with M mantissa bits is the (M+1) ⨉ (M+1) array of
        full adders (that are needed for multiplying together the mantissa portions


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       of the two input numbers. The IEEE fp32, IEEE fp16 and bfloat16 formats
       need 576 full adders, 121 full adders, and 64 full adders, respectively.
       Because multipliers for the bfloat16 format require so much less
       circuitry, it is possible to put more multipliers in the same chip area and
       power budget, thereby meaning that ML accelerators employing this
       format can have higher flops/sec and flops/Watt, all other things being
       equal.

Dean, Jeffrey. (2020). 1.1 The Deep Learning Revolution and Its Implications for Computer

Architecture and Chip Design. 8-14. 10.1109/ISSCC19947.2020.9063049 (emphasis added).

This fact was further confirmed in a paper published by the team of Google engineers

responsible for designing and building the accused TPUs (including, inter alia, Norman Jouppi

and David Patterson):




Jouppi, Norman, et al.. “Ten Lessons From Three Generations Shaped Google’s TPUv4i :

Industrial Product,” in 2021 ACM/IEEE 48th Annual International Symposium on Computer

Architecture (ISCA), Valencia, Spain, 2021 pp. 1-14 at 3 (emphasis added). According to the

above table, a BFloat 16 multiplier requires less than 20% as much energy per operation as an

IEEE FP32 multiplier (both made using the same 7 nm semiconductor fabrication process). The



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lower power requirements of BFloat16 multipliers is a result of the fact that they include fewer

transistors than full-precision IEEE FP32 multipliers

       89.     In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       90.     Due to its monitoring of Singular’s patents and applications, Google knew of the

application for the ’775 patent prior to the issuance of the patent on November 9, 2021. For

example, Google’s attorneys prepared and filed two IPR petitions for Inter Partes Review

(“IPR”) of patents related to the ’775 patent.

       91.     As a result of Google’s infringement of the ’775 patent, Singular has suffered

damages in an amount to be determined at trial.

                                         COUNT IV
                (Google’s Infringement of United States Patent No. 11,169,659)


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       92.     Paragraphs [1-91] are reincorporated by reference as if fully set forth herein.

       93.     Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 1 of the ’659 patent by making, using, testing,

selling, offering for sale and/or importing into the United States the Accused TPU Devices. The

Accused TPU Devices, in Google’s own words, “power” at least Google Translate, Photos,

Search, Assistant, and Gmail, as published by Google:




       94.     The Accused TPU Devices share a similar architecture in that they all perform

low precision high dynamic range arithmetic operations, specifically multiplication of two

traditional high precision floating point value at reduced bfloat16 precision.




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       95.     Each of the Accused TPU Devices, which can be a TPUv4 chip or a TPUv5 chip,

is an example of a “silicon chip that has a clock,” as claimed by the ’714 patent. As published by

Google:




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       96.     A method performed by the each Accused TPU Device comprises “completing, in

a single cycle of the clock, using the silicon chip, at least tens of thousands of first multiplication

operations.” Each Accused TPU Device (which can be a TPUv4 chip or a TPUv5 chip),

comprises one or more MXUs, each of which contains a systolic array having 128 x 128

“multiply-accumulators.” Each of these multiply-accumulators includes a multiplier circuit

(MXU Multiplier Circuit). See paragraph 52. The MXU Multiplier Circuits each perform

multiplication operations as described above. Collectively, the MXU Multiplier Circuits perform

at least tens of thousands of first multiplication operations per clock cycle (138 bfloat16

TFLOPS with a clock rate of 1050MHz, which means the TPUv4 chip is performing  131,000

bfloat16 multiplication operations per clock cycle, and since TPUv5 chip has half the MXUs as a

TPUv4 chip, TPUv5 chips perform  65,000 bfloat16 multiplication operations per clock cycle).




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       97.     In the Accused TPU Device, “each of the first multiplication operations operates

on a respective first numerical input value represented using a first floating point representation

that has a signed binary mantissa of no more than 11 bits and a signed binary exponent of at

least 6 bits, and a respective second numerical input value represented using a second floating

point representation.”

       a.      The Accused TPU Devices each contain TensorCores which each have one of

               more MXUs. Specifically with respect to the Accused TPU Devices, each TPUv4

               chip has 8 MXUs (four MXUs per TensorCore, 2 TensorCores per chip), and each

               TPUv5 chip has 4 MXUs (four MXUs per TensorCore, 1 TensorCore per chip).

               As published by Google:




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b.     Each MXU contains a systolic array having 128 x 128 “multiply-accumulators,”

       each of which includes a multiplier circuit (MXU Multiplier Circuit). The MXU

       Multiplier Circuit is adapted to complete “a first multiplication operation.” As

       published by Google:




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c.     That is, a MXU Multiplier Circuit is adapted to perform a multiplication (i.e.,

       arithmetic) operation on two input bfloat16 numerical values so that the

       multiplication operation is carried out in “bfloat16 format.” Such an operation

       (e.g., “X[2,0]*W[0,0]” in the example equation for Y[2,0] that Google provides

       below) is performed in “bfloat16 format” by the MXU as a whole.:




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f.     The “first numerical input value” for each individual MXU Multiplier Circuit is

       the signal representing a bfloat16 value that is multiplied by the MXU Multiplier

       Circuit. As published by Google:




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g.     The “first numerical input value” is a bloat16 number. Bfloat16 numbers are

       floating point representations of “numerical values.” As published by Google:




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h.     Bfloat16 numbers are floating point representations that have a signed binary

       exponent of 8 bits, and a signed binary mantissa of 8 bits, which means the

       Accused TPU Device multiplication operations operate on a first numerical input

       value represented using a signed binary mantissa of no more than 11 bits and a

       signed binary exponent of at least 6 bits. Because each MXU Multiplier Circuit

       takes two such inputs (i.e., in bfloat16 format), each MXU Multiplier Circuit

       multiplication operation also operates on a “second numerical input values

       represented using a second floating point representation.”




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       98.     In the multiplication operations completed by the Accused TPU Device, “the

number of the first multiplication operations is at least 1000 more than three times the maximum

number of traditional high-precision multiplication operations on floating point numbers at least

32 bits wide that the silicon chip is adapted to complete in a single cycle of the clock.” A TPUv4

chip has eight MXUs (two TensorCores per TPUv4, and four MXUs per TensorCore), while a

TPUv5 chip has four MXUs (one TensorCores per TPUv5e, and four MXUs per TensorCore).

Each MXU has 16,384 MXU Multiplier Circuits as shown above. Therefore, a TPUv4 chip can

complete 131,072 such “first multiplication operations” (in a single cycle of the clock) and a

TPUv5 chip can complete 65,536 such “first multiplication operations” (in a single cycle of the



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clock). Each TensorCore (each TPUv4 has two TensorCores and TPUv5e has a TensorCore, as

explained above) also has a Vector Processing Unit (VPU). Each VPU has 2,048 (16 x 128)

ALUs, half of which are custom silicon arithmetic elements in the silicon chip (Accused TPU

Device) adapted to perform on each clock cycle the operations of traditional high-precision

multiplication on floating point numbers that are at least 32 bits wide. See, e.g.,

https://codelabs.developers.google.com/codelabs/keras-flowers-data/#2 (“The VPU handles

float32 and int32 computations.”) Therefore, each TPUv4 chip can complete 131,072 of the

“first multiplication operations (in a single cycle of the clock)” and 2,048 of the “traditional

high-precision multiplication operations on floating point numbers at least 32 bits wide… in a

single cycle of the clock.” Each TPUv4 chip can complete 65,536 of the “first multiplication

operations (in a single cycle of the clock)” and 1,024 of the “traditional high-precision

multiplication operations on floating point numbers at least 32 bits wide… in a single cycle of

the clock”. Since 131,072 is at least 1000 more than three times 2,048, and since 65,536 is at

least 1000 more than three times 1,024, in the Accused TPU Devices, “the number of the first

multiplication operations is at least 1000 more than three times the maximum number of

traditional high-precision multiplication operations on floating point numbers at least 32 bits

wide that the silicon chip is adapted to complete in a single cycle of the clock.” As published by

Google:




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       99.     Collectively, the MXU Multiplier Circuits perform at least tens of thousands of

the “first multiplication operations” per clock cycle (138 bfloat16 TFLOPS with a clock rate of

1050MHz, which means the TPUv4 chip is performing  131,000 bfloat16 multiplication



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operations per clock cycle, and since TPUv5 chip has half the MXUs as a TPUv4 chip, the

TPUv5 chip is performing  65,000 bfloat16 multiplication operations per clock cycle). By

contrast, TPUv4 can only complete 2,048, and TPUv5e can only complete 1,024, of the

“traditional high-precision multiplication operations on floating point numbers at least 32 bits

wide… in a single cycle of the clock.”




       100.    In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




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       101.    Due to its monitoring of Singular’s patents and applications, Google knew of the

application for the ’659 patent prior to the issuance of the patent on September 26, 2023. For

example, Google’s attorneys prepared and filed two petitions for Inter Partes Review (“IPR”) of

the 616 patent, patents related to the ’659 patent. In each of those petitions, Google identified

numerous patents and applications related to the 616 patent, including application serial number

US17/029,780, which led to the ’659 patent. Thus, at least since 12/22/2022 when Google

identified the application in, inter alia, its Petition for Inter Partes Review in IPR2023-00395,

Google has knowledge of the ‘780 application. Before making such identification, counsel for

Google reviewed application serial number US17/029,780.

       102.    As a result of Google’s infringement of the ’659 patent, Singular has suffered

damages in an amount to be determined at trial.

                                                COUNT V

               (Google’s Infringement of United States Patent No. 11,768,660)

       103.    Paragraphs [1-102] are reincorporated by reference as if fully set forth herein.

       104.    Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 1 of the ’660 patent by making, using, testing,

selling, offering for sale and/or importing into the United States the Accused TPU Devices. The


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Accused TPU Devices, in Google’s own words, “power” at least Google Translate, Photos,

Search, Assistant, and Gmail, as published by Google:




       105.    The Accused TPU Devices share a similar architecture in that they all implement

low precision high dynamic range arithmetic operations, specifically multiplication of two

traditional high precision floating point value at reduced bfloat16 precision.




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       106.   An Accused TPU Pod, that groups one or more Accused TPU Devices (one or

more TPUv4 chips or one or more TPUv5 chips) therewithin, is an example of a “device.” As

published by Google:




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          107.   Each Accused TPU Device has “a silicon chip comprising a plurality of execution

units.”

          a.     The Accused TPU Devices each contain TensorCores which each have one of

                 more MXUs. Specifically with respect to the Accused TPU Devices, each TPUv4

                 chip has 8 MXUs (four MXUs per TensorCore, 2 TensorCores per chip), and each

                 TPUv5 chip has 4 MXUs (four MXUs per TensorCore, 1 TensorCore per chip).

                 As published by Google:




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b.     Each MXU contains a systolic array having 128 x 128 “multiply-accumulators,”

       which each include a multiplier circuit (MXU Multiplier Circuit). As published by

       Google:




c.     Each of those MXU Multiplier Circuits are paired with circuitry for taking two

       32-bit floating point format (“FP32 format” or “float32”) values and converting

       each to a bfloat16 value (an MXU Multiplier Circuit and said taking/converting

       circuitry, collectively an “MXU Reduced Precision Multiply Cell”). An MXU


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       Reduced Precision Multiply Cell is an “execution unit.” A plurality of Reduced

       Precision Multiply Cells is a plurality of “execution units.” As published by

       Google:




d.            In the Accused TPU device, in claim 1 of the ’660 patent, each “execution

       unit,” a Reduced Precision Multiply Cell, is paired with a memory circuit as

       shown in Figure 3 of the Google ’165 patent application. Each such memory unit

       is local to its associated processing element. See also, e.g.,

       https://cloud.google.com/tpu/docs/beginners-guide (“the TPU loads the

       parameters from memory into the matrix of multipliers and adders.




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               This memory is used, for example, to store “weights” or “parameters” as part of

               algorithms that relate to neural networks. See, e.g.,

               https://www.programmersought.com/article/66614714332/ and previously

               https://cloud.google.com/tpu/docs/beginners-guide (“the TPU loads the

               parameters from memory into the matrix of multipliers and adders”).

       108.    In each Accused TPU Device, “the plurality of execution units jointly comprise a

first plurality of custom silicon arithmetic elements wherein at least one of the first plurality of

custom silicon arithmetic elements is adapted to execute a first multiplication operation on one

or more first input signals that represent a first numerical value using a floating point

representation that has a signed binary mantissa of no more than 11 bits and a signed binary

exponent of at least 6 bits, and on one or more second input signals that represent a second

numerical value using a floating point representation.”




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a.      Each MXU Reduced Precision Multiply Cell (an “execution unit”) comprises an

        MXU Multiplier Circuit paired with circuitry for taking two 32-bit floating point

        format (“FP32 format” or “float32”) values and converting each to a bfloat16

        value. Each of those MXU Multiplier Circuits is a “custom silicon arithmetic

        element" that is “adapted to execute a first multiplication operation.” Each MXU

        comprises a systolic array having 128 x 128 “multiply-accumulators,” each of

        which comprises a MXU Multiplier Circuit. As published by Google:




c.      An MXU Multiplier Circuit is adapted to perform a multiplication (i.e.,

        arithmetic) operation on two input signals that were float32 numerical value, but




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   have been rounded down to bfloat16 numerical values by the time the MXU

   Multipier Circuit processes them, so that the multiplication operation is carried

   out at “reduced bfloat16 precision.” Such an operation (e.g., “X[2,0]*W[0,0]” in

   the example equation for Y[2,0] that Google provides below) is a part of a larger

   float32 matrix multiplication operation (e.g., Y= X*W in the example Google

   provides below) being performed at “reduced bfloat16 precision” by the MXU as

   a whole. Since the Accused TPU Device comprises custom silicon, each MXU

   Multiplier Circuit is a custom silicon arithmetic element of the first plurality of

   custom silicon arithmetic elements. As published by Google:




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f.      The “first input signal” for each individual MXU Multiplier Circuit is the signal

        representing a bfloat16 value that is multiplied by the MXU Multiplier Circuit.

        As published by Google:




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g.      The “first numerical value” represented by the “first input signal,” is a bloat16

        number. Bfloat16 numbers are floating point representations of “numerical

        values.” As published by Google:




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h.      The inputs received by each MXU Multiplier Circuit comprise two floating point

        values having a bfloat16 format. The bfloat16 format used by an MXU Multiplier

        Circuit has a signed binary exponent bits of 8 bits, and a signed binary mantissa of

        8 bits, which means each “arithmetic element” of the Accused TPU Device is

        adapted to execute a multiplication operation on inputs having a signed binary

        mantissa of width that is no more than 11 bits and a signed binary exponent of

        width that is at least 6 bits. Because each MXU Multiplier Circuit takes two such

        inputs (i.e., in bfloat16 format), the MXU Multiplier Circuits also takes “one or

        more second input signals that represents a second numerical value using a

        floating point representation.”


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       109.    In the Accused TPU Device, “a total number of the first plurality of custom

silicon arithmetic elements in the silicon chip that are adapted to execute first multiplication

operations exceeds, by at least 1000 more than three times, a total number of second custom

silicon arithmetic elements in the silicon chip adapted to perform on each cycle the operation of

traditional high-precision multiplication on floating point numbers that are at least 32 bits

wide.” Each MXU Multiplier Circuit is one of the “custom silicon arithmetic elements. adapted

to execute a first multiplication operation on one or more first input signals that represent a first

numerical value using a floating point representation that has a signed binary mantissa of no

more than 11 bits and a signed binary exponent of at least 6 bits,” as described above. A TPUv4



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chip has eight MXUs (two TensorCores per TPUv4, and four MXUs per TensorCore), while a

TPUv5 chip has four MXUs (one TensorCores per TPUv5e, and four MXUs per TensorCore).

Each MXU has 16,384 such “custom silicon arithmetic elements of the first plurality of custom

silicon arithmetic elements” (MXU Multiplier Circuits) as shown above. Therefore, a TPUv4

chip has 131,072 such “custom silicon arithmetic elements” (MXU Multiplier Circuits) and a

TPUv5 chip has 65,536 such “custom silicon arithmetic elements” (MXU Multiplier Circuits).

Each TensorCore (each TPUv4 has two TensorCores and TPUv5e has a TensorCore, as

explained above) also has a Vector Processing Unit (VPU), which like the rest of TPU also

comprises custom silicon. Each VPU has 2,048 (16 x 128) ALUs, half of which are custom

silicon arithmetic elements in the silicon chip (Accused TPU Device) adapted to perform on each

clock cycle the operations of traditional high-precision multiplication on floating point numbers

that are at least 32 bits wide. See, e.g., https://codelabs.developers.google.com/codelabs/keras-

flowers-data/#2 (“The VPU handles float32 and int32 computations”). Thus, half of the ALUs in

each VPU are “second custom silicon arithmetic elements in the silicon chip adapted to perform

on each cycle the operation of traditional high-precision multiplication on floating point

numbers that are at least 32 bits wide.” Therefore, each TPUv4 chip has 131,072 of the “first

plurality of custom silicon arithmetic elements” (MXU Multiplier Circuits) and 2,048 (from the

two VPUs within the two TensorCores) “second custom silicon arithmetic elements.” 131,072

exceeds by at least 1000 more than three times 2,048. Each TPUv5 chip has 65,536 “custom

silicon arithmetic elements of the first plurality of custom silicon arithmetic elements”(MXU

Multiplier Circuits) and 1,024 of the “second custom silicon arithmetic elements.” 65,536

exceeds by at least 1000 more than three times 1,024. Therefore, in the TPU Accused Devices,

there are “a total number of the first plurality of custom silicon arithmetic elements in the silicon




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chip that are adapted to execute first multiplication operations exceeds, by at least 1000 more

than three times, a total number of second custom silicon arithmetic elements in the silicon chip

adapted to perform on each cycle the operation of traditional high-precision multiplication on

floating point numbers that are at least 32 bits wide.” As published by Google:




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       110.     In the Accused TPU Devices, “the first plurality of custom silicon arithmetic

elements are adapted to collectively perform, per cycle, at least tens of thousands of first

multiplication operations.” The “first plurality of custom silicon arithmetic elements” are the

MXU Multiplier Circuits, as described above. The MXU Multiplier Circuits each perform

multiplication operations also as described above. Collectively, the MXU Multiplier Circuits

perform at least tens of thousands of first multiplication operations per clock cycle (138 bfloat16

TFLOPS with a clock rate of 1050MHz, which means the TPUv4 chip is performing  131,000

bfloat16 multiplication operations per clock cycle, and since TPUv5 chip has half the MXUs as a

TPUv4 Device, the TPUv5 chip is performing  65,000 bfloat16 multiplication operations per

clock cycle).




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       111.    In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       112.    As a result of Google’s infringement of the ’659 patent, Singular has suffered

damages in an amount to be determined at trial.



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                                        COUNT VI
               (Google’s Infringement of United States Patent No. 11,842,166)

       113.    Paragraphs [1-112] are reincorporated by reference as if fully set forth herein.

       114.    Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claim 1 of the ’166 patent by making, using, testing,

selling, offering for sale and/or importing into the United States the Accused TPU Devices. The

Accused TPU Devices, in Google’s own words, “power” at least Google Translate, Photos,

Search, Assistant, and Gmail, as published by Google:




       115.    The Accused TPU Devices share a similar architecture in that they all implement

low precision high dynamic range arithmetic operations, specifically multiplication of two

traditional high precision floating point value at reduced bfloat16 precision.




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        116.    Each Accused TPU Device comprises a “device comprising: at least one

instruction memory adapted to store at least one instruction; a silicon chip comprising a

plurality of first execution units, wherein each of the plurality of first execution units . . . is

adapted to execute a first operation of multiplication: on one or more first input signals that

represent a first numerical value using a floating-point representation . . ., and on one or more

second input signals that represent a second numerical value using a floating-point

representation, to produce one or more first output signals that represent a third numerical

value.” See paragraphs 50-52.

        117.    In the Accused TPU device, each one of first execution units “has access to

memory local to that execution unit.” See paragraphs 53.



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       118.     In the Accused TPU Devices, the first numerical values are represented “using a

floating-point representation that has a signed binary mantissa of no more than 11 bits and a

signed binary exponent of at least 6 bits.” See paragraph 97.

       119.     Each Accused TPU Device comprises “a second execution unit adapted to

execute a second operation of traditional high-precision multiplication on floating point

numbers that are at least 32 bits wide; . . . wherein a total number of first execution units in the

silicon chip exceeds, by at least 100 more than five times, a total number of execution units in the

silicon chip adapted to execute the operation of traditional high-precision multiplication on

floating point numbers that are at least 32 bits wide; wherein each of the plurality of first

execution units is smaller than the second execution unit.” See paragraphs 55-57.

       120.     Each Accused TPU Device comprises “decoding circuitry adapted to decode the

at least one instruction received from the at least one instruction memory and to send at least

one control signal to at least one of the plurality of first execution units to cause the at least one

of the plurality of first execution units to operate according to the at least one instruction.” See

paragraph 58.

       121.     In the Accused TPU Devices, “the plurality of first execution units are adapted to

collectively perform, per cycle, at least tens of thousands of the first operation.” See paragraph

59.

       122.     As a result of Google’s infringement of the ’166 patent, Singular has suffered

damages in an amount to be determined at trial.

                                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court:

       A.       enter judgment in favor of the Plaintiff on all counts of the Complaint;




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       B.      award Plaintiff damages as determined at trial;

       C.      award Plaintiff treble damages, costs and attorney’s fees as a result of

Defendant’s willful infringement;

       D.      enjoin Defendant’s infringement; and

       E.      award Plaintiffs such other and further legal and equitable relief as the Court may

deem just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all counts of the complaint.


Dated: January 2, 2024                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system on January 2, 2024.

                                             /s/     Kevin Gannon




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